My hal S th

a3 tne lyn suvect Ganak in that part thereof north of the Gld Hammond

. * ienway Krigws as “Bucktown”. located, in the Parish of Jefferson, State of

Liuisiana

v1,

ome thirty seventh tara rot a Porky seventh named defendants ars

; alleged. tipon information and peliet,, to be the owners and/or oocupants

“of structures butle upon plers.in and over the L7th Street Canal in the

area, porth of ,the Old Mawnnond Highway. in that part thereof known as”

, Bucktown avd identaricd Dy numbered udijrausus io Jefferson Pariah as

follows:

170 Micrmael J, Young, 1823 orpneum Street.

2) Larwy's Marine and Auto ropair, 1829
. Orpheum Street.

3) A. Werner, 1835 Orpheum Street. -

4 &. chiffer, 2595 Grpneum Street.
M. Be Swann, 1962 Orpheum Street.
_K. &. Rhneams, 186) orpneum Strect.
C.:L. Boutall;- 2867: Orpheum: Street.
_ fon Ree. (correct name not known), 1817

“Richard Ree (correct name not known),
1825 Orpheun- Strest. . .

Jim tee (correct name nor known), 1257
: Orpheum Streeti:. al

Jack Boe Ccorreet name not known), 1865
Orpheum Streety.

ota Bits toner, “Sewerige and Water: Board of New Orleans, herein~

after.9 & W. Bais > constructs, -poritrole, maintains and operates and is

‘ charged: With! the:responaibility of providing adequate drainage facili~

‘tedee. to the citizens off New Orleang and these citizens of Jefferson

“Pariah served, ‘by The L7bh: Street: Gna! in aecordante with certatin,
ey pour og ft Hl Saas,

"| agreements entered into by the-S-& W Bd. and Jefferson Parish, pursuant
ST ee ec ee AAEM

bo LSASA.S. 33:H071 eb. seas, and! dn ‘connection therewith, for wary
years, have sequined serviieuder, and/or 221 omewship of land, in the
none off the. City of New Orleans fox: thesuse and benefit of the Sewerage |

and, Water Board’ of New Orleans, atid in-such capacity acquired title to

-. the-canal loebted sn Jefferson’ Purishiimewn as une 17th Street Canal

é fi Joh etn Parish ta thé shoreline of Lake
“ * nf noe 4, .

Trem Worth Like: Stre

_Ponchartrain as i¢ existed prior to the year 1869 by the following

_ Contracts bese. al lee
. Aot before, J. J. Youlfe, Notary Publis,
dated December 20,2607, rerishered COB
166 folio 209 (Oricans).

